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                   Exhibit 6
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                                                                           Page 1

 1                         UNITED STATES DISTRICT COURT
 2                       NORTHERN DISTRICT OF CALIFORNIA
 3                                SAN JOSE DIVISION
 4                                        --oOo--
 5
 6        IN RE GOOGLE RTB CONSUMER                   Case No.
 7        PRIVACY LITIGATION                          5:21-CV-02155-LHK-VKD
 8        ____________________________/
 9
10
11
12
13                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15
16
17                   VIDEO-RECORDED DEPOSITION OF TERRY DIGGS
18                              REDDING, CALIFORNIA
19                             FRIDAY, APRIL 14, 2023
20
21
22
23        Reported by:
24        Anrae Wimberley, CSR No. 7778
25        Job No.       5823194

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 1                         UNITED STATES DISTRICT COURT
 2                       NORTHERN DISTRICT OF CALIFORNIA
 3                               SAN JOSE DIVISION
 4                                      --oOo--
 5
 6        IN RE GOOGLE RTB CONSUMER                 Case No.
 7        PRIVACY LITIGATION                        5:21-CV-02155-LHK-VKD
 8        ____________________________/
 9
10
11
12                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
13
14
15
16
17                        Transcript of video-recorded deposition
18        of TERRY DIGGS, taken at The Sheraton Hotel -
19        Sundial Bridge, 820 Sundial Bridge, Redding,
20        California 96001, beginning at 9:05 a.m. and ending
21        at 2:58 p.m. on Friday, April 14, 2023, before Anrae
22        Wimberley, Certified Shorthand Reporter No. 7778.
23
24
25

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                                                                         Page 3

 1        APPEARANCES:
 2        For the Plaintiffs and the Proposed Class:
 3                     DICELLO LEVITT LLP
 4                     BY:     DAVID A. STRAITE, ESQ.
 5                             JAMES ULWICK, ESQ.
 6                     485 Lexington Avenue, Suite 1001
 7                     New York, New York 10017
 8                     (646) 933-1000
 9                     dstraite@dicellolevitt.com
10                     julwick@dicellolevitt.com
11
12        For Defendant Google, Inc.:
13                     COOLEY LLP
14                     BY:     REECE TREVOR, ESQ.
15                     Three Embarcadero Center, 20th Floor
16                     San Francisco, California 94111
17                     (415) 693-2247
18                     rtrevor@cooley.com
19
20        Also present:
21                     DAN BRUUN, Videographer
22                     VERITEXT LEGAL SOLUTIONS
23                                      --oOo--
24
25

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 1                                   I N D E X
 2        EXAMINATION BY:                                            PAGE
 3        MR. TREVOR                                                    7
 4        MR. STRAITE                                                 213
 5
 6                                     --oOo--
 7
 8                             E X H I B I T S
 9        EXHIBIT              DESCRIPTION                           PAGE
10        Exhibit 1       Document entitled "Google                    75
                          Subscriber Information"; no
11                        Bates numbers, 10 pages
12        Exhibit 2       Document entitled "Exhibit                    83
                          A Redacted (Publicly Filed)
13                        Version" of the
                          Consolidated Class Action
14                        Complaint; 140 pages
15        Exhibit 3       Chrome web browser history;                  147
                          Bates stamped
16                        GOOG-HEWT-00455626 through
                          627
17
          Exhibit 4       Chrome search history;                       151
18                        Bates stamped
                          GOOG-HEWT-00455628
19
          Exhibit 5       Los Angeles Times Privacy                    153
20                        Policy; 24 pages
21        Exhibit 6       Web page screenshot                          171
                          entitled "Justice in all
22                        its Dimensions"; 2 pages
23        Exhibit 7       Web page screenshot                          174
                          entitled "Privacy Policy";
24                        3 pages
25

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 1                        E X H I B I T S           (Cont'd)
 2        EXHIBIT              DESCRIPTION                            PAGE
 3        Exhibit 8       Exhibit 5 to the                              181
                          consolidated class action
 4                        complaint; 5 pages
 5        Exhibit 9       Exhibit 20 to the                             189
                          consolidated complaint; 34
 6                        pages
 7        Exhibit 10      Document entitled "Reset                      207
                          advertising ID"; Bates
 8                        stamped
                          PLFS_RTB_DIGGS_00259681
 9                                      --oOo--
10        QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER:                    ^
11                                 PAGE         LINE
12                                  116             1
13                                  118            13
14                                  185             7
15                                  185            15
16                                      --oOo--
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 1                           FRIDAY, APRIL 14, 2023;
 2                              REDDING, CALIFORNIA;
 3                                      9:05 A.M.
 4                                         - - -
 5                  THE VIDEOGRAPHER:        Good morning.         We are on the
 6        record at 9:05 a.m. on April 14th, 2023.
 7                       This is Media Unit No. 1 of the
 8        video-recorded deposition of Terry Diggs in the
 9        matter of In Re:          Google RTB Consumer Privacy
10        Litigation.
11                       My name is Dan Bruun, and I'm the
12        videographer from the firm Veritext Legal Solutions.
13        The court reporter is Anrae Wimberley from the firm
14        Veritext Legal Solutions.
15                       Would counsel please introduce themselves
16        and state their affiliations for the record.
17                  MR. TREVOR:     Good morning, everyone.
18                       Reece Trevor from Cooley LLP for Google.
19                  MR. STRAITE:     Good morning.
20                       David Straite from the DiCello Levitt for
21        plaintiff Terry Diggs.
22                  MR. ULWICK:     Good morning.
23                       James Ulwick, also from DiCello Levitt,
24        also here for plaintiff Terry Diggs.
25                  THE VIDEOGRAPHER:        And would the court reporter

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 1                  Q.      Would you say you're more concerned or
 2        less concerned or about the same concerned as most
 3        people with sharing personal information?
 4                  MR. STRAITE:      Objection; literally calls for
 5        speculation.
 6                  THE WITNESS:      I'm concerned -- more concerned
 7        about it.
 8        BY MR. TREVOR:
 9                  Q.      You mentioned a moment ago that you have
10        concerns about sharing your personal information,
11        and I want to ask you some questions about that.
12                          What does the term "personal information"
13        mean in the way you just used it?
14                  A.      Anything that has to do with me.
15                  Q.      And you also testified that you're
16        concerned about sharing your personal information.
17                          When you say, "sharing," what do you mean?
18                  A.      I don't want other people seeing my
19        personal information.
20                  Q.      Do you take any measures when you're using
21        the Internet to stop other people from seeing your
22        personal information?
23                  MR. STRAITE:      Objection; vague.
24                  THE WITNESS:      What kind of measures?
25        BY MR. TREVOR:

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 1                  MR. STRAITE:        Objection; vague.
 2                  THE WITNESS:        No.
 3        BY MR. TREVOR:
 4                  Q.      Ms. Diggs, are you familiar with the term
 5        "personalized advertising"?
 6                  A.      No.
 7                  Q.      You've never heard that term before?
 8                  A.      No.
 9                  Q.      Do you have any understanding of what it
10        might mean?
11                  MR. STRAITE:        Objection; actually calls for
12        speculation.
13                  THE WITNESS:        I don't know.
14        BY MR. TREVOR:
15                  Q.      You mentioned earlier, Ms. Diggs, that you
16        have an account with Google.
17                  A.      Yes.
18                  Q.      How many accounts do you have?
19                  A.      What do you mean?
20                  Q.      Sorry.     How many Google accounts do you
21        have?
22                  A.      One.
23                  Q.      One.
24                          What's the user name associated with that
25        account?

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 1        smartphones?
 2                  A.      No.
 3                  Q.      You've never lent your phone to a friend
 4        or a coworker for a moment?
 5                  MR. STRAITE:      Objection; asked and answered.
 6                  THE WITNESS:      No.     My friends have their own
 7        phones.
 8        BY MR. TREVOR:
 9                  Q.      Ms. Diggs, do you own a computer?
10                  A.      No.
11                  Q.      Have you ever owned a computer?
12                  MR. STRAITE:      Objection; vague.
13                  THE WITNESS:      Yes.
14        BY MR. TREVOR:
15                  Q.      What was the last computer you owned?
16                  A.      An Acer touch screen.
17                  Q.      Do you recall if that was a laptop
18        computer or a desktop?
19                  A.      It was a desktop.
20                  Q.      And when did you last have that Acer
21        computer?
22                  A.      It's been about nine years.
23                  Q.      What did you typically use that Acer
24        computer for?
25                  MR. STRAITE:      Objection; vague.

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 1        don't use it?
 2                  A.      Yeah.    It's in my Bible case.
 3                  Q.      So we've talked about your Acer computer
 4        that you had nine years ago.                  We've talked about
 5        your Android phones, your iPhone XS and your iPhone
 6        14.
 7                          Are there any other electronic devices
 8        that you've used to access the Internet?
 9                  MR. STRAITE:       Objection; calls for speculation.
10        Objection; vague.
11                  THE WITNESS:       Not that I know of, no.
12        BY MR. TREVOR:
13                  Q.      Do you recall in the last 10 years owning
14        any other electronic devices?
15                  A.      No.
16                  Q.      Do you know if anyone has ever used your
17        Google account on any other electronic devices?
18                  A.      Not that I know of.
19                  Q.      Do you have any reason to believe that
20        someone might have used your Google account on any
21        other electronic devices?
22                  A.      No.
23                  Q.      Okay.
24                  MR. TREVOR:       I'll ask the court reporter to
25        mark this as Exhibit 1, please.

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 1        where it says, "Account Recovery."
 2                          Do you see that?
 3                  A.      Yes.
 4                  Q.      Do you see where it says, "Recovery
 5        e-Mail"?
 6                  A.      Yes.
 7                  Q.      And then it says,
 8                             @gmail.com."
 9                          Have you ever had an e-mail account
10                            @gmail.com?
11                  A.      I think I did.
12                  Q.      Do you know when you had that e-mail
13        account?
14                  A.      Years ago.
15                  Q.      Have you ever used that e-mail account?
16                  A.      I don't recall.         It's been a long time.
17                  Q.      So I asked you earlier if you had any
18        e-mail accounts other than
19                                 @gmail.com.       I think you said, "No,"
20        at that time.
21                          Does this refresh your recollection as to
22        whether you have other Gmail accounts?
23                  A.      Yes, I remember having this one.
24                  Q.      Do you know why you created two Gmail
25        accounts?

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 1        representatives if you guys approve them to be
 2        representatives, I guess.
 3                  Q.      And when you say people who are going to
 4        be representatives, representatives of what do you
 5        mean?
 6                  A.      Anybody that had a Google account that is
 7        involved in the case, the class action suit.
 8                  Q.      And do you understand yourself to be
 9        involved in this case?
10                  A.      Yes.
11                  Q.      In what capacity are you involved in this
12        case?
13                  MR. STRAITE:      Objection; calls for a legal
14        conclusion.
15                  THE WITNESS:      I'm trying to be a
16        representative.
17        BY MR. TREVOR:
18                  Q.      And is it your understanding that you are
19        a party to a lawsuit against Google?
20                  A.      Yes.
21                  Q.      Could you please tell me in your own words
22        why you're suing Google?
23                  A.      Because it is -- it's a breach of my
24        privacy and because, from my understanding, that
25        Google has sold my information for profit, or

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 1        shared.
 2                  Q.      When you say, "it's a breach of my
 3        privacy," what do you mean by "it"?
 4                  A.      Well, I know that in the thing that pops
 5        up with Google, it states that they will collect my
 6        information but that they will not share my
 7        information.
 8                  Q.      You said, "the thing that pops up with
 9        Google."
10                          What do you mean by that?
11                  A.      The agreement.
12                  Q.      Do you know which agreement you're
13        referring to?
14                  A.      Just the one that you have to agree to
15        when you make a Google account.
16                  Q.      So it's your understanding that you agree
17        to something with Google when you created your
18        account?
19                  MR. STRAITE:      Objection; calls for legal
20        conclusion.
21                  THE WITNESS:      Yeah, I'm not exactly sure.               It's
22        just the thing you have to say I agree.
23        BY MR. TREVOR:
24                  Q.      And do you remember if you did say I
25        agree?

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 1                  A.      Yes.
 2                  Q.      Yes, you did say I agree?
 3                  A.      Yes.
 4                  Q.      You also said a moment ago that Google has
 5        sold or shared your information.
 6                          What information are you referring to?
 7                  A.      My personal information.
 8                  Q.      And earlier this morning, I asked you what
 9        you meant by "personal information."
10                          Do you remember that?
11                  A.      Yes.
12                  Q.      Do you remember how you defined "personal
13        information" this morning?
14                  A.      Anything that's about me.
15                  Q.      And is that what you believe Google has
16        breached that agreement to you by sharing?
17                  A.      Yes.
18                  Q.      When you say, "anything about you," what
19        specific pieces of information are about you that
20        you think Google could share?
21                  MR. STRAITE:      Objection; calls for expert
22        testimony.
23                  THE WITNESS:      I'm not sure.             That's why I hired
24        these guys.
25        BY MR. TREVOR:

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 1                  THE WITNESS:      I don't know.
 2        BY MR. TREVOR:
 3                  Q.      What are some pieces of information about
 4        you -- and I'm not asking for specifics but just
 5        categories of information -- that you consider
 6        particularly sensitive?
 7                  MR. STRAITE:      Same objections.
 8                  THE WITNESS:      Where I live, things I like to
 9        do.
10        BY MR. TREVOR:
11                  Q.      Anything else?
12                  A.      I'm not sure.
13                  MR. TREVOR:      Ms. Diggs, do you want to take a
14        break now?
15                  THE WITNESS:      Yes, please.
16                  MR. TREVOR:      Okay.     Let's go off the record,
17        Counsel.
18                  MR. STRAITE:      That's fine.
19                  THE VIDEOGRAPHER:         Okay.      We're off the record
20        at 10:58 a.m.
21                          (Recess taken.)
22                  THE VIDEOGRAPHER:         Okay.      We're back on the
23        record at 11:14 a.m.
24        BY MR. TREVOR:
25                  Q.      Ms. Diggs, before we broke, you mentioned

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 1        that you considered two pieces of personal
 2        information especially sensitive, and I believe
 3        those were your location and things you like to do.
 4                          Do you remember that?
 5                  MR. STRAITE:      Objection; misstates earlier
 6        testimony.
 7                  THE WITNESS:      Yeah, there was more than that.
 8        BY MR. TREVOR:
 9                  Q.      What other pieces of personal information
10        do you consider especially sensitive, if any?
11                  A.      Anything that pertains to me.              I mean, you
12        can find out who I am through sharing my
13        information, and like we already talked, my old job,
14        it's not -- I don't like my information shared.
15                  Q.      Are there any categories of personal
16        information about you that you don't consider to be
17        especially sensitive?
18                  MR. STRAITE:      Objection; vague.
19                  THE WITNESS:      I don't think that -- it doesn't
20        really matter what I think is sensitive, none of my
21        information should be shared.
22        BY MR. TREVOR:
23                  Q.      I understand, and I appreciate that
24        perspective.
25                          But I am asking if there are other

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 1                          I'm curious why you decided in particular
 2        to retain Mr. Ulwick as your lawyer as opposed to
 3        another lawyer.
 4                  MR. STRAITE:      At this point, I'm going to
 5        caution to the witness that you do not need to
 6        reveal why you chose your counsel.
 7                  MR. TREVOR:      And, Counsel, are you instructing
 8        the witness not to answer the question?
 9                  MR. STRAITE:      I am, as phrased.
10        BY MR. TREVOR:
11                  Q.      Ms. Diggs, are you going to take your
12        counsel's advice?
13                  A.      Absolutely.
14                  Q.      Did you do any research about Mr. Ulwick
15        or DiCello Levitt?
16                  A.      Absolutely.
17                  Q.      What research did you do?
18                  A.      Sorry.
19                  MR. STRAITE:      That's okay.          We're proud of the
20        firm.
21                  THE WITNESS:      Well, of course, with the same
22        thing as somebody I don't know, so I wanted to see,
23        you know, if he was who he said he was, what the
24        firm was all about, so I looked into it.
25        BY MR. TREVOR:

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 1                  Q.      How did you look into it?
 2                  A.      I went on and Googled the firm and looked
 3        at the people on there and just read about it.
 4                  Q.      And when you say you looked at the firm on
 5        Google, do you mean you went to the firm's website?
 6                  A.      Yes.
 7                  Q.      Did you talk to anyone else at the firm?
 8                  A.      No.
 9                  Q.      Did you speak to anybody else about
10        DiCello Levitt?
11                  A.      No.
12                  Q.      What have you done to prepare for today's
13        deposition, Ms. Diggs?
14                  A.      I met with James and David twice; well,
15        once over the Internet with James, and then reviewed
16        documents and then we met in person yesterday.
17                  Q.      About how long did those meetings last?
18                  MR. STRAITE:      Objection; vague.
19                  THE WITNESS:      A few hours.
20        BY MR. TREVOR:
21                  Q.      Each of the two meetings lasted a few
22        hours?
23                  A.      Oh, a little longer maybe, three hours.
24                  Q.      So in total, you met with your counsel for
25        about six hours in preparation for today's meeting?

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 1                  MR. STRAITE:       Objection; calls for a legal
 2        conclusion.
 3                  THE WITNESS:       I don't believe my role is any
 4        different than anybody else's.
 5        BY MR. TREVOR:
 6                  Q.      So you believe your role in this case is
 7        the same as anyone else who was affected by the
 8        practices you're alleging by Google?
 9                          (Reporter seeks clarification.)
10                  MR. STRAITE:       I objected, calls for a legal
11        conclusion.
12                  THE WITNESS:       Yes.
13        BY MR. TREVOR:
14                  Q.      We looked earlier at the text that says,
15        "all others similarly situated."
16                          Do you see that?
17                  A.      Where is it?
18                  Q.      It's in the same line as Benjamin Hewitt,
19        immediately below that.
20                  A.      Okay.
21                  Q.      What's your understanding of what
22        "similarly situated" means?
23                  A.      My understanding is that the people that
24        are in -- the plaintiffs for this are people that
25        have been injured by their information being shared

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 1        without their knowledge.
 2                  Q.      Do you know if there are any other
 3        plaintiffs in this lawsuit?
 4                  A.      Yes.
 5                  Q.      Do you know how many?
 6                  A.      No.
 7                  Q.      Do you know who they are?
 8                  A.      I don't know any of them personally.
 9                  Q.      Do you know any of their names?
10                  A.      Yes.   There's these people here
11        (indicating) and on the back, or wherever it is,
12        there's seven of us, I believe, all together that
13        are possible representatives.
14                  Q.      Have you ever spoken to any of those seven
15        people -- or six other people?
16                  A.      No.
17                  Q.      Do you know if there were previously other
18        people who sought to be class representatives in
19        this case?
20                  A.      I have no idea.
21                  Q.      Do you know who Benjamin Hewitt is?
22                  A.      I believe it's -- oh, I don't know.               No.
23                  Q.      You mentioned a moment ago the names at
24        the top of this document here on the front page of
25        Exhibit 2, and those are six names in bolded text.

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 1                  Q.      Ms. Diggs, what do you aim to accomplish
 2        through this lawsuit?
 3                  MR. STRAITE:      Objection; vague.
 4                  THE WITNESS:      Well, I would like them to stop
 5        sharing information without people's consent.                       And
 6        if not, at least have a consent form so that they
 7        can agree or not.           And I also feel like, since they
 8        put my information out and received money for it,
 9        that I should be compensated for some of that.
10        BY MR. TREVOR:
11                  Q.      You mentioned earlier that -- or a moment
12        ago a consent form.
13                          Would you be comfortable with the actions
14        you're alleging if there were such a consent form
15        that allowed you to say yes or no?
16                  A.      Yes.   Then it would be my choice.
17                  Q.      So if you were choosing to share this kind
18        of data with Google and have Google share it with
19        other people, you would be okay with it?
20                  MR. STRAITE:      Objection; calls for speculation.
21        Objection; vague, incomplete hypothetical.
22                  THE WITNESS:      I don't even understand that.
23        BY MR. TREVOR:
24                  Q.      You mentioned that you were hoping to
25        recover monetary compensation through this case.

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 1                          How much money are you hoping to recover?
 2                  MR. STRAITE:      Objection; calls for expert
 3        testimony.
 4                  THE WITNESS:      I have no idea.
 5        BY MR. TREVOR:
 6                  Q.      Have you incurred any out-of-pocket losses
 7        as a result of the conduct by Google that you're
 8        challenging?
 9                  MR. STRAITE:      Objection; vague, calls for
10        expert testimony.
11                  THE WITNESS:      No, not that I know of.
12        BY MR. TREVOR:
13                  Q.      Do you think that other Google users are
14        also entitled to any money from this lawsuit?
15                  MR. STRAITE:      Objection; calls for expert
16        testimony, calls for a legal conclusion, calls for
17        speculation.
18                  THE WITNESS:      Yes, if a judge finds so.
19        BY MR. TREVOR:
20                  Q.      Do you think that every Google user should
21        get the same amount of money as you?
22                  MR. STRAITE:      Objection; vague and all prior
23        objections as well.
24                  THE WITNESS:      I feel like I'm no different than
25        they are.

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 1                  A.      If theirs was shared -- I mean, that's not
 2        for me to decide.           That's the same thing you just
 3        asked me kind of in a different way.                    That's up to a
 4        judge decide.
 5                  Q.      I understand, and I'm actually asking you
 6        a slightly different question.
 7                          I'm asking, based on the sharing that you
 8        allege of your own data, do you think anyone else
 9        should get any money for your data being shared, not
10        their data?
11                  MR. STRAITE:      Objection; calls for a legal
12        conclusion, calls for expert testimony.
13                  THE WITNESS:      I don't -- yeah, that's not up to
14        me.       I don't know.
15        BY MR. TREVOR:
16                  Q.      Do you want any money for anyone else's
17        personal information that's not yours being shared?
18                  A.      No.
19                  Q.      Would you want any money for your
20        granddaughter's personal information being shared?
21                  A.      I mean, if a judge said so, I mean, yeah.
22                          But I don't know what -- I don't know
23        anything about that, the rulings of that, and that's
24        up to experts and I don't know thinking about that.
25                  Q.      If it were possible for you to do

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 1        something to stop Google from sharing the
 2        information that you allege, would you do it?
 3                  MR. STRAITE:      Objection; vague, calls for
 4        expert testimony.
 5                  THE WITNESS:      If I could.
 6        BY MR. TREVOR:
 7                  Q.      So if you were capable of just pressing a
 8        button and getting Google to not share personal data
 9        about you, would you do that?
10                  A.      Yes, if there was such a button, but
11        there's not.
12                  Q.      What's the basis for your belief there's
13        not?
14                  A.      There's not a button on my phone that says
15        Google cannot share my information.
16                  Q.      Are you familiar with the concept of
17        "private browsing"?
18                  A.      No.
19                  Q.      Have you ever heard of "incognito mode"?
20                  A.      No.
21                  Q.      Are you aware of any steps that you can
22        take to prevent a web browser from collecting
23        personal information about you?
24                  MR. STRAITE:      Objection; vague.
25                  THE WITNESS:      I don't know.

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 1        BY MR. TREVOR:
 2                  Q.      Have you ever done any research to
 3        ascertain whether there are any methods to prevent a
 4        web browser from collecting information about you?
 5                  MR. STRAITE:      Same objection.
 6                  THE WITNESS:      I don't know.
 7        BY MR. TREVOR:
 8                  Q.      You don't know if you've ever done any
 9        research?
10                  A.      Oh, I've done no research, no.
11                  Q.      Why have you done no research?
12                  A.      I didn't know that they did.
13                  Q.      And is that the case even after you filed
14        this lawsuit?
15                  A.      Well, after I found out that Google was
16        sharing my information, I hired lawyers.                      And that
17        was the best way I could find to prevent it.
18                  Q.      Did you do any research to see if there
19        were ways that you could stop this personal
20        information you believe was being shared from being
21        shared?
22                  A.      No.
23                  Q.      How about research to see if you could
24        stop personal information from being collected about
25        you in the first place?

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 1                  MR. STRAITE:      Same objection; vague.
 2                  THE WITNESS:      I believe in the agreement they
 3        state that they are going to collect personal
 4        information, but they also state they're not going
 5        to share it.
 6        BY MR. TREVOR:
 7                  Q.      I understand.
 8                          Did you take any steps to see if you could
 9        stop them from collecting that personal
10        information -- and by "them," I mean Google -- apart
11        from hiring your lawyers?
12                  MR. STRAITE:      Objection; asked and answered.
13                          And you have to -- your responses, Terry,
14        have to be audible.
15                  THE WITNESS:      Okay.      I hired the lawyers.
16        BY MR. TREVOR:
17                  Q.      Are you familiar, Ms. Diggs, with "ad
18        blockers"?
19                  A.      No.
20                  Q.      Never heard of "ad blockers" before?
21                  A.      No.
22                  Q.      Have you done any research into ad
23        blockers?
24                  A.      No.
25                  Q.      And that's the case even after you filed

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 1        they might receive additional information from about
 2        you?
 3                  MR. STRAITE:      Same objections.
 4                  THE WITNESS:      I don't know.
 5        BY MR. TREVOR:
 6                  Q.      Do you see where it says [as read]:
 7        Marketers, partners, researchers, social networks,
 8        data services companies and others?
 9                  A.      Yes.
10                  Q.      Do you understand that these would be the
11        third parties that the L.A. Times is disclosing they
12        might receive information from you?
13                  MR. STRAITE:      Same objections.
14                  THE WITNESS:      That's what it says.
15        BY MR. TREVOR:
16                  Q.      And would you object to the L.A. Times
17        receiving information about you from a third party?
18                  A.      Well, it does say -- they do state in here
19        that they may share, so they're informing me that
20        they may share.           So then I agreed to it.
21                  Q.      And that sounds like you're talking about
22        the L.A. Times sharing information with other
23        people.
24                          Am I understanding that correctly?
25                  A.      That's what it says, right.

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 1                  Q.      So what about the L.A. Times getting
 2        information about you from somebody else, would you
 3        object to that?
 4                  A.      Not if I had read it and agreed to it.
 5                  Q.      Would you take a look, it's about three
 6        pages after the page we were just looking at, at
 7        heading 4.2, "Tailored advertising."
 8                          Let me know when you're there.
 9                  A.      Okay.
10                  Q.      Let's take a look at the very first
11        paragraph there.            It says, "When you use the
12        Services, Los Angeles Times may serve you with ads
13        based on various factors."
14                          Do you see that?
15                  A.      Yes.
16                  Q.      Do you understand what that means?
17                  MR. STRAITE:       Objection; calls for a legal
18        conclusion, calls for expert testimony.
19                  THE WITNESS:       Yeah, I don't really know what
20        they're meaning there.
21        BY MR. TREVOR:
22                  Q.      Do you have any idea what it means for the
23        L.A. Times to serve you with ads?
24                  MR. STRAITE:       Same objections.
25                  THE WITNESS:       No.

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 1        to say to that because I have given them my
 2        information myself.
 3        BY MR. TREVOR:
 4                  Q.      And why does it matter that you've given
 5        them your information yourself?
 6                  A.      Because I chose to give it to them.               I
 7        chose to share my information with them.
 8                  Q.      And as a result of that, are you
 9        comfortable with Google sharing that information
10        with them as well?
11                  A.      No.
12                  Q.      So are you seeking through this lawsuit to
13        recover any money for information that Google shared
14        with DiCello Levitt?
15                  MR. STRAITE:      Same objections.
16                  THE WITNESS:      If a judge decides that I should,
17        then yes.
18        BY MR. TREVOR:
19                  Q.      Are you asking a judge to make that
20        decision?
21                  MR. STRAITE:      Objections, same objections.
22                  THE WITNESS:      My counsel is the people that
23        decide what's going on and who's -- you know,
24        between the judge and what they tell the judge.
25                          I don't understand all this and don't

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 1                  Q.      I'm asking, if these statements did affect
 2        you, not if you had seen it, but in real life they
 3        did affect your expectation about how Google would
 4        handle your information?
 5                  A.      Yes.
 6                  Q.      But you testified a minute ago you had
 7        never seen this document before; right?
 8                  A.      No, you said --
 9                  MR. STRAITE:      Objection.
10                          Counsel, are you trying to confuse the
11        witness?
12                  MR. TREVOR:      Not at all.
13                  THE WITNESS:      But you are.
14        BY MR. TREVOR:
15                  Q.      Did you rely on these statements in this
16        document here in deciding to use Google Services?
17                  MR. STRAITE:      Objection; vague.
18                  THE WITNESS:      No.
19        BY MR. TREVOR:
20                  Q.      Did you see these statements at any point
21        before you decided to use Google Services?
22                  MR. STRAITE:      Objection; vague.
23                  THE WITNESS:      No.
24        BY MR. TREVOR:
25                  Q.      Do you see the sentence that says, "We

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 1        don't sell your personal information to anyone"?
 2                  A.      Yes.
 3                  Q.      Do you believe this statement is false?
 4                  A.      Yes.
 5                  Q.      In what way do you believe that statement
 6        is false?
 7                  MR. STRAITE:      Objection; calls for expert
 8        testimony.
 9                  THE WITNESS:      The RTB.
10        BY MR. TREVOR:
11                  Q.      What about the RTB?
12                  A.      That's why this is false.              They're stating
13        that they don't do what they do.                      Twice, in one
14        paragraph.
15                  Q.      What's the basis for your belief that
16        Google, in fact, does what they do -- what they
17        claim not to do?
18                  MR. STRAITE:      And, again, I caution the
19        witness, you do not have to reveal information that
20        you learned from your lawyers.
21                  THE WITNESS:      Isn't this a Google document?
22        BY MR. TREVOR:
23                  Q.      Is that your full response?              I just want
24        to wait --
25                  A.      I'm asking you, yes, is this a Google

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 1        it may collect information about their activity on
 2        third-party sites and apps that use Google Services?
 3                  A.      Yes.
 4                  Q.      And do you understand that Google tells
 5        users that it may collect information about their
 6        Chrome browsing history that users have synced with
 7        their Google account?
 8                  A.      Yes.
 9                  Q.      And I'll just note for the record those
10        last two bullets I read appear on page 4 of 33.
11                          Ms. Diggs, do you have any objection to
12        Google's collection of any of the data that we just
13        ran through?
14                  A.      No.
15                  Q.      Why not?
16                  A.      Because they've already -- they already
17        said that they were going to collect it, and I
18        agreed to that.
19                  Q.      Take a look, please, at page 6 of 33.
20                          Do you see where the document says,
21        "Provide personalized services, including content
22        and ads"?
23                  A.      Yes.
24                  Q.      Have you ever reviewed this part of the
25        privacy policy before?

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 1        Objection; assumes facts not in evidence, calls for
 2        speculation.
 3                  THE WITNESS:       I understand.
 4        BY MR. TREVOR:
 5                  Q.      And you've chosen not to opt out of ads
 6        personalization despite understanding that doing so
 7        would cause Google to share information about you
 8        for purposes of personalized advertising?
 9                  MR. STRAITE:       Objection; assumes facts not in
10        evidence, calls for expert testimony, calls for
11        speculation.
12                  THE WITNESS:       Yeah, I don't know anything about
13        these buttons really.
14        BY MR. TREVOR:
15                  Q.      Do you remember earlier in the day today,
16        I asked you if there was a button that you could
17        press that would cause Google to not share any
18        information about you?
19                  A.      Um-hum.
20                  Q.      Do you remember telling me that you would
21        press that button?
22                  A.      Oh, yes, absolutely.
23                  Q.      If this were such a button, would you
24        press it?
25                  A.      Yes.   But it's not.

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 1                  Q.      How do you know it's not?
 2                  A.      Because it says, "Opt out of Ads
 3        Personalization," and it says that advertising ID to
 4        build profiles or show you personalized ads.
 5                          I'm not objecting to personalized ads.
 6        I'm objecting to selling personal information that
 7        can also ID me, like where I go and look and things
 8        like that.
 9                  Q.      Do you believe that . . . do you believe
10        that Google would still share information about you
11        if it were not showing you personalized ads?
12                  MR. STRAITE:      Objection; calls for speculation,
13        calls for expert testimony.
14                  THE WITNESS:      I have no idea.
15                  MR. TREVOR:      Okay.     I think I'm all set.           If we
16        could just take a five-minute break and I'll review
17        my notes to make sure I don't have any further
18        questions and then call it a day.
19                  THE WITNESS:      Okay.      Great.
20                  MR. TREVOR:      Let's go off the record, please.
21                  MR. STRAITE:      Off the record is fine.
22                  THE VIDEOGRAPHER:         We are off the record at
23        2:46 p.m.
24                          (Recess taken.)
25                  THE VIDEOGRAPHER:         We are back on the record at

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 1        2:54 p.m.
 2                  MR. TREVOR:      Ms. Diggs, I have no further
 3        questions for you today.
 4                          Thank you very much for spending the day
 5        with us and answering the questions.                    I appreciate
 6        it.
 7                          We will reserve all rights to cease the
 8        deposition, including to hold it open; but with
 9        that, I have nothing further.
10                  THE WITNESS:      Okay.
11                  MR. STRAITE:      Okay.      We have a couple of
12        follow-up questions just to clarify some earlier
13        testimony.
14                                      EXAMINATION
15        BY MR. STRAITE:
16                  Q.      Ms. Diggs, earlier you recall being asked
17        what you did to prepare for the deposition, and you
18        said there were two sessions, three hours each,
19        which the math was six, and you clarified nine.
20                          So just to clarify, how many sessions --
21        prep sessions did you have with James via Zoom, was
22        it one or two prep sessions?
23                  A.      Two.
24                  Q.      And then how many prep sessions in person
25        with James and myself?

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 1                  A.      One.
 2                  Q.      So how many total prep sessions were
 3        there?
 4                  A.      Three.
 5                  Q.      Thank you.
 6                          Do you recall being asked during the
 7        testimony conversations you had before retaining
 8        DiCello Levitt, and you recall questions about work
 9        you did to prepare for this deposition, including
10        those three prep sessions.
11                          Do you remember those questions?
12                  A.      Yes.
13                  Q.      To clarify what you did in between the
14        signing up for the case and then the prep for the
15        deposition, did you have conversations with James in
16        the intervening year and a half?
17                  A.      Oh, yeah.    Several.
18                  Q.      Sorry.   How many?
19                  A.      At least five or six, I would say.
20                  Q.      And were these always James reaching out
21        to you or did you also reach out to him to inquire
22        about the status of the case?
23                  A.      Oh, no, I reached out to him as well.
24                  Q.      Do you recall also being asked about
25        whether your role in this case would be the same as

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 1        any other plaintiff?
 2                  A.      Yes.
 3                  Q.      Did you mean the same as any other
 4        plaintiff who is sitting here for depositions, or
 5        did you mean the same as all the class members?
 6                  A.      All the class members.
 7                  Q.      And as your role as a lead plaintiff, your
 8        role so far to date, understanding that the court
 9        hasn't yet decided who will be a class
10        representative, let's go through what you've done
11        for this case.
12                          You testified about the preparing for the
13        deposition; is that correct?
14                  A.      Um-hum.
15                  Q.      And you testified about reviewing the
16        draft complaint.
17                          Do you recall that testimony?
18                  A.      Yes.
19                  Q.      Did you review the draft complaint before
20        it was filed?
21                  A.      Yes.
22                  Q.      And did you also review the judge's orders
23        in this case on -- judge's order on the motion
24        for -- the motion to dismiss?
25                  A.      Yes, Judge Gonzalez, correct.               Before

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 1        marriage, I think it was Gonzalez.
 2                  Q.      And do you recall also allowing your
 3        lawyers to look through your personal e-mails?
 4                  A.      Yes.
 5                  Q.      And do you recall allowing your lawyers to
 6        image your two devices?
 7                  A.      Yes.
 8                  Q.      And you testified earlier that you also
 9        mailed your iPhone to your lawyers recently?
10                  A.      Twice I have mailed my phones.
11                  Q.      That's what I wanted to clarify.
12                  A.      Yes.
13                  Q.      So the most recent, was that just for
14        evidence preservation or was that the imaging you
15        were talking about last year?
16                  A.      No, that was -- the imaging was the phone
17        last year and then I sent this phone to you guys.
18                  Q.      So the most recent phone you sent was just
19        for safekeeping?
20                  A.      Yes.
21                  MR. STRAITE:      Nothing further at this time.
22                  MR. TREVOR:      Nothing more from me.
23                  THE VIDEOGRAPHER:         Okay.      That concludes
24        today's videotaped deposition of Terry Diggs.                       And
25        we are off the record at 2:58 p.m.

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 1                     I, the undersigned, a Certified Shorthand
 2        Reporter of the State of California, do hereby
 3        certify:
 4                     That the foregoing proceedings were taken
 5        before me at the time and place herein set forth;
 6        that any witnesses in the foregoing proceedings,
 7        prior to testifying, were administered an oath; that
 8        a record of the proceedings was made by me using
 9        machine shorthand which was thereafter transcribed
10        under my direction; that the foregoing transcript is
11        a true record of the testimony given.
12                     Further, that if the foregoing pertains to
13        the original transcript of a deposition in a Federal
14        Case, before completion of the proceedings, review
15        of the transcript (X) was ( ) was not requested.
16                     I further certify that I am neither
17        financially interested in the action nor a relative
18        or employee of any attorney of any party to this
19        action.
20                     IN WITNESS WHEREOF, I have this date
21        subscribed my name.
22        Dated:    April 26, 2023
23
24
                                    <%16617,Signature%>
25                                    ANRAE WIMBERLEY, CSR No. 7778

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